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A O 2 4 5 D -CA ED (Rev . 9 / 0 1 ) Sh eet 1 - J u d g m en t in a Crim in al Case f o r Rev o c at io n




                                               United States District Court
                                                        Eastern District of California

             UNITED STATES OF AMERICA                                                            JUDGMENT IN A CRIMINAL CASE
                        v.                                                                       (For Revocation of Probation or Supervised Release)
                                                                                                 (For Offenses committed on or after November 1, 1987)
                  SHANEKO GILES
                            (Defendant’ s Name)                                                  Criminal Number: 2:05CR00125-05


                                                                                                 Candace Fry, Appointed
                                                                                                 D ef endant ’ s A t t orn ey


THE DEFENDANT:
[U] admit t ed guilt t o violat ion of charge 2 as alleged in t he violat ion pet it ion f iled on 4/14/2008.
[]  w as f ound in violat ion of condit ion(s) of supervision as t o charge(s)         af t er denial of guilt , as alleged in t he
    violat ion pet it ion filed on .
ACCORDINGLY, t he court has adjudicat ed t hat t he def endant is guilt y of t he f ollow ing violat ion(s):

Violation Number                                Nature of Violation                                                       Date Violation Occurred
2                                               Failure t o Follow Inst ruct ion of t he Probat ion 03/21/2008
                                                Of f icer




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 11/1/2005.

       The def endant is sent enced as provided in pages 2 t hrough 2 of t his judgment . The sent ence is imposed
pursuant t o t he Sent encing Ref orm Act of 1984.

[U]         Charges 1 and 3 are dismissed.


            Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

       IT IS FURTHER ORDERED t hat t he def endant shall not if y t he Unit ed St at es At t orney f or t his dist rict w it hin
30 days of any change of name, residence, or mailing address unt il all f ines, rest it ut ion, cost s, and special
assessment s imposed by t his judgment are f ully paid.

                                                                                     5/22/2008
                                                                                     Dat e of Imposit ion of Sentence



                                                                                     Signat ure of Judicial Of f icer


                                                                                     MORRISON C. ENGLAND, JR., Unit ed St at es Dist rict Judge
                                                                                     Name & Tit le of Judicial Of f icer

                                                                                     6/2/2008
                                                                                     Dat e
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A O 2 4 5 B-CA ED (Rev . 3 / 0 4 ) Sh eet 2 - Im p riso n m en t

CASE NUMBER:                       2:05CR00125-05                                                                            Judgment - Page 2 of 2
DEFENDANT:                         SHANEKO GILES


                                                                     IM PRISONM ENT
          The def endant is hereby commit t ed t o t he cust ody of t he Unit ed St at es Bureau of Prisons t o be imprisoned
f or a t ot al t erm of 4 mont hs as t o Charge 2 f or a t ot al t erm of 4 mont hs.




[]         The court makes t he f ollow ing recommendat ions t o t he Bureau of Prisons:



[U]        The def endant is remanded t o t he cust ody of t he Unit ed St at es Marshal.


[]         The def endant shall surrender t o the Unit ed St at es Marshal f or t his dist rict .
           [ ] at        on     .
           [ ] as not if ied by t he Unit ed St at es Marshal.


[]         The def endant shall surrender f or service of sent ence at t he inst it ut ion designat ed by t he Bureau of
           Prisons:
           [ ] bef ore on          .
           [ ] as not if ied by t he Unit ed St at es Marshal.
           [ ] as not if ied by t he Probat ion or Pret rial Services Of f icer.
           If no such inst it ution has been designat ed, t o the Unit ed St at es Marshal f or t his dist rict .

                                                                           RETURN
I have executed this judgment as follow s:




           Defendant delivered on                                                       to


at                                                                 , w ith a certified copy of this judgment.




                                                                                                                UNITED STATES MARSHAL



                                                                                             By
                                                                                                                  Deputy U.S. Marshal
